       8:92-cr-00014-RFR-MDN               Doc # 1156      Filed: 12/15/09       Page 1 of 1 - Page ID # 951


                                           UNITED STATES DISTRICT COURT
                                               DISTRICT OF NEBRASKA
Denise M. Lucks                                 OFFICE OF THE CLERK                                 M. Therese Bollerup
Clerk of Court                                   www.ned.uscourts.gov                                Chief Deputy Clerk




        TO:              The Honorable Lyle E. Strom

        FROM:            Clerk, U.S. District Court
                         Jane Fischer

        DATE:            December 15, 2009

        SUBJECT:         8:92CR14 USA v. Cleveland Johnson

        A party, who has been given permission to proceed in forma pauperis or who is financially unable
        to obtain an adequate defense in a criminal case, has filed a notice of appeal. Pursuant to the third
        paragraph of FRAP 24(a), a party may proceed on appeal in forma pauperis without further
        authorization unless the district judge certifies that the appeal is not taken in good faith or finds that
        the party is otherwise not entitled to proceed on appeal in forma pauperis. The district judge shall
        state in writing the reasons for such a certification or finding.

        Please advise the clerk's office of how you intend to proceed so that we may process this appeal:

                  X      No order will be entered in this direct criminal appeal, and the party is
                         permitted to proceed on appeal in forma pauperis.
                         An order will be entered finding that the party is not entitled to proceed in
                         forma pauperis.
                         An order will be entered, and the party is permitted to proceed on appeal in
                         forma pauperis.
                         An order will be entered in this § 2254 or § 2255 case regarding certificate
                         of appealability.

                         DATED this 15th day of December, 2009.

                                                           /s/ Lyle E. Strom
                                                        _________________________________
                                                           United States District Judge

                             Additional Requirement for State Habeas or § 2255 Cases

        Pursuant to Rule 22(b) of the Federal Rules of Appellate Procedure and 28 U.S.C. § 2253 (c), the
        district judge who rendered the judgment shall either issue a certificate of appealability or state the
        reasons why such a certificate should not be issued.

        Transmission of the notice of appeal to the Court of Appeals will be delayed until this court rules
        on the party's in forma pauperis status and the certificate of appealability.


        Approved Date:   01/25/08                              Forms-Appeal-Memo_IFP_Prisoner_to_Judge_Criminal



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